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     Exhibit 371
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From: Kayla Cardoza <kayla@clarelocke.com>
Subject: Time-Sensitive Legal Correspondence
Date: December 22, 2020 at 10:02:46 PM EST
To: "bobby@awetv.com" <bobby@awetv.com>, "charles.herring@oann.com"
<charles.herring@oann.com>
Cc: Tom Clare <tom@clarelocke.com>, Megan Meier <megan@clarelocke.com>

Dear Messrs. Herring:

Please see the attached correspondence from Tom Clare and
Megan Meier. Kindly confirm receipt.

Sincerely,

Kayla Cardoza | Case Manager
C L A R E              L O C K E              L L P
10 Prince Street | Alexandria, Virginia 22314
(202) 899-3873 - direct
kayla@clarelocke.com | www.clarelocke.com

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                                                        C
                                        CLARE                   LOCKE
THOMAS A. CLARE, P.C.                                   L   L   P
                                                                                            MEGAN L. MEIER

                                               December 22, 2020

  Via Email

   Robert Herring
   Chief Executive Officer, OAN
   Email: bobby@awetv.com

   Charles Herring
   President, OAN
   Email: charles.herring@oann.com

                 Re:      Dominion’s Second Demand for Retraction of Defamatory Accusations
    Dear Messrs. Herring:

           We write again on behalf of US Dominion Inc.1 Our December 18, 2020 letter demanded
    that One America News Network (“OAN”) retract its recent defamatory statements that Dominion
    was involved in a clandestine conspiracy to somehow rig the November 2020 presidential election.
    This letter serves as Dominion’s renewed demand that you publicly correct your defamatory
    statements in accordance with California Civil Code § 48a.

            Our last letter explained in great detail the substantial harm that OAN’s inflammatory
    accusations have caused Dominion. This includes damages from diminished sales and customer
    goodwill, injury to Dominion’s reputation, and the loss of public trust. These are all critical to
    Dominion’s success, and OAN’s reckless disregard for the truth has substantially interrupted the
    company’s ability to operate. To add insult to injury, OAN’s smear campaign against Dominion has
    presented a real and present safety risk to Dominion employees throughout the country. Recent
    news reports describe the harrowing account of one such employee who is currently in hiding
    because of the “$1,000,000 bounty” that has been placed on his head.

            Indeed, in response to numerous threats the company has received, Dominion has hired
    private security firms to protect the health and safety of its employees and to monitor and repulse
    continued attempts to compromise its physical locations. Many of these threats were made in the
    hours after OAN published false claims that Dominion was attempted a coup to subvert the true
    outcome of the November 2020 presidential election. By way of example, OAN published the
    following stories on December 2nd and December 3rd, both containing false accusations about
    Dominion’s role in the recent election.


    1
     We also represent and write on behalf of its subsidiaries, Dominion Voting Systems, Inc. and Dominion Voting
    Systems Corporation (collectively, “Dominion”).
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 One America News   O @OANN • Dec     2                                         One America News O @0ANN • Dec 3
 Maricopa CountyGOP chairwomantestifies she saw votes for President             Election fraud witnesses provide testimony in Mich. -
 Trump flipped for Biden- oann.com/maricopa-count.. ttOANN                      oann.com/election-fraud... #0ANN




       Within hours of OAN publishing these stories-and promoting them on their various social
media accounts-Dominion received obscene and demeaning messages from members of the public
who were outraged by the prevarications and lies set forth in OAN's "reporting." OAN's reporting
prompted numerous death threats that were aimed towards Dominion and its employees. A few
examples follow:

                •    "I lwpeyou get exeettte[sic}bychainsaw."
                •    "Why won't you fucking cowardstestify. We're comingfor you. You guys are done. You are
                     treasonousscumbags."
                •    "Yott better watch y'all.sback we know whereyou live and we're comingfor you."
                •    "Your days are numbered!"
                •    "I lwpeyou get exeettte[sic}bychainsaw."
                •    "Why won't you fucking cowardstestify. We're comingfor you. You guys are done. You are
                     treasonousscumbags."
                •    "Yott better watch y'all.sback we know whereyou live and we're comingfor you."
                •    "Your days are numbered!"
                •    "Yottsettmbagvote riggingson of a bitches.Your not gonna get away with it. And yes, you
                     wiU be proven to be "enemy combatants" in conspiracywith China and the Democrats.
                     Get right or get the conseq11ences.Pricks."
                                                                      George w James @GeorgeWJames1 Dec 4
        lntagglngeyesandme*
        @Muddtime1
                              *   *                                   Sidney Powell files new lawsuit in Arizona; Dominion contractor: 'My lif ...
                                                                      youtu be/xky3q0bheT4 via @YouTube ALL WE WANTED WAS A FARE




 --------==-1-
 Here he is               treasonous bastard                          ELECTION BUT YOU HAO TO CHEAT SO FUCK YOU DIE IN GITMO !
 extraordinaire. Is he arrested? Its time to try out the
 new death by fire squad rule.                      A          FUjackD · @)BankruptTwitrNOW
                                                               2weeksago
                                                                            - we are coming for you: don't bother locking your doors
                                                               or alarming them or hiring body guards ...won't work. TICK TICK TICK
                                                               TICK

                                                               YOU WILL NEVER,                                walk without    looking over
                                                               your shoulder ....

                                                               You TERRORIST' Smirk and smile all you want ....we will have the last
                                                               laugh ...that is a promise II!!!'

                                                               Checkmate you China dick'!"

                                                                               ◊o            ◊ 28




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        These are just a handful of examples of the threats that Dominion continues to receive
online, via telephone, and even in person. Dominion urges you, therefore, to intervene and set the
record straight so that Dominion can begin mitigating some of the harm OAN’s conduct has
inflicted.

        For the avoidance of doubt, you must correct the defamatory statements described in this
letter and our previous correspondence, and you must publish those corrections in substantially as
conspicuous a manner as the original libels. Enclosed please find an appendix containing (1) our
December 18, 2020 letter and (2) the relevant defamatory statements subject to Dominion’s
demands for retraction. For your reference we have highlighted the defamatory statements that you
must correct and retract. If you harbor any confusion concerning this letter or its requirements,
please notify my office immediately.

       For the reasons set forth in our December 18, 2020 letter, you must:

       1. Immediately cease and desist publishing defamatory statements about Dominion,
          regardless of whether the statements are made by you or by third parties.

       2. Immediately issue a public retraction of the defamatory statements identified in the
          Appendix to this letter, making clear that Dominion did not interfere in the November
          2020 election and explaining that Dominion has no involvement in a supposed “deep-
          state” conspiracy to reverse the proper outcome of the election.

       3. Save and preserve all documents and materials related to your reporting.

       4. Immediately apologize for your defamatory claims.

        Finally, this letter puts you on notice that Dominion will pursue legal remedies to protect its
interests, including the substantial damages and attorneys’ fees that Dominion has incurred because
of OAN’s reckless disregard for the truth.

       Please respond accordingly.

                                                       Regards,



                                                       Thomas. A. Clare, P.C.



                                                       Megan L. Meier


Enclosures




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___________________________________________

Dominion adv. One American News Network
___________________________________________




                        DOMINION’S RETRACTION DEMAND
                                 APPENDIX A




                                                 Thomas A. Clare, P.C.
                                                 Megan L. Meier, Esq.
                                                 CLARE LOCKE LLP


                                                 Counsel for Dominion




This appendix is submitted in connection with the retraction demand to OAN from US Dominion
Inc., Dominion Voting Systems, Inc., and Dominion Voting Systems Corporation (Collectively,
“Dominion”).




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1. Clinton Ties To Dominion Voting System, Which ‘Glitched’ For Biden (Nov. 11, 2020)

   https://www.oann.com/clinton-ties-to-dominion-voting-system-which-glitched-for-biden/

   Clinton Ties To Dominion Voting System, Which ‘Glitched’ For Biden.

   Software used by the voting system Dominion reportedly “glitched” in favor of
   Joe Biden in key parts of Michigan. As it turns out, key members of Dominion have
   ties that go back to Hillary Clinton.

   Video

   Host (00:00):

   Software used by the voting system, Dominion reportedly glitched in favor of
   Joe Biden and key parts of Michigan. And as it turns out, key members of Dominion
   have ties that go back to Hillary Clinton. As we just reported there here’s
   Chanel Rion.

   Chanel Rion (00:14):

   One county in Michigan glitched and turned Trump votes into Biden votes. Upon
   exposing this error, it turns out that 6,000 votes had accidentally gone from Trump
   to Biden when they corrected this error. Not only did Trump win the County, but
   the house gained a Republican Congressman. Head of the Trump legal battle
   against fraudulent ballots, Rudy Giuliani says this glitch was widespread.

   Rudy Giuliani (00:41):

   A complete breakdown of a software system called Dominion, in which in Antrim
   County Biden won on election night, only to find out that the software didn’t work
   and it reversed the vote. That Dominion technology was used in three-quarters to
   almost 80% of the state. So now we’ve got to look at how often did its breakdown
   in other parts of the state. And when you look back on the history of Dominion,
   which is a Canadian firm, it's made mistakes in the Canadian election system.

   Chanel Rion (01:17):

   This Dominion software was used in at least 47 counties in Michigan. A state
   Trump had been projected to win. Election officials in Michigan were quick to
   dismiss this initial mistake as simply a failure to update the software, but Trump’s
   legal team and the Republican party are calling this a bluff pushing for a full audit
   of the counties in which Dominion was used.




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   Rudy Giuliani (01:40):

   The idea that there’s no evidence in the networks keep saying, but the Trump
   campaign has produced no evidence. And I say, you are censoring the evidence.

   Chanel Rion (01:51):

   But there is another aspect of the Dominion software company that escaped the
   notice of most: Dominion’s ties to the Clinton Foundation. Penelope Chester-Starr
   is the communications manager for Dominion Voting Systems. Prior to coming to
   Dominion, she worked for the Clinton Growth Initiative and was Vice President for
   Teneo. Teneo was the firm started to help manage Bill and Hillary Clinton’s
   foreign businesses and booked their personal speaking engagements. Even more
   disturbing, there appears to be a formal partnership between the Clinton Initiative
   and Dominion Voting Systems. But back to just one example of many, Chester-
   Starr also helped organize a 2017 women’s March against Trump and is a rabid
   anti-Trumper working for a vote counting company. One that claims to be the
   leading supplier of election technology across Canada and the U.S. The question is
   how many more anti-Trump activists and former Clinton allies work for or affect
   the Dominion software company? The company that accidentally flipped thousands
   of votes from Trump to Biden in key swing states.

2. Cyber Analyst On Dominion Voting: Shocking Vulnerabilities (Nov. 15, 2020)

   https://www.oann.com/cyber-analyst-on-dominion-voting-shocking-vulnerabilities/

   Cyber Analyst On Dominion Voting: Shocking Vulnerabilities

   A cyber analyst shares alarming insights into the scandal ridden voting software
   Dominion. One America’s Chanel Rion has more.

   Video

   Host (00:00):

   And a cyber analyst shares alarming insights into the scandal-ridden voting
   software Dominion. One America Chanel Rion has more.

   Chanel Rion (00:10)

   Well voter fraud deniers continue to proclaim the perfection of the U.S. election
   system. Skeptics are looking at irregular patterns in vote data in particular software
   irregularities that would switch votes from President Trump to Joe Biden.
   Dominion Voting Systems is one such software that seemed to have a pattern of
   switching votes from Trump to Biden. How easily could bad actors have used
   Dominion to switch thousands of votes in alternate election County by County?
   The answer is shocking. One America News spoke with Ron Watkins, a large



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systems technical analyst who has been pouring over the Dominion systems
manual.

Ron Watkins (00:50):

First, I was looking at this manual with the mindset of a penetration tester of which
I am. I’m reading the manual with a discerning eye and trying to figure out which
parts of the system could be abused by, uh, end-users. The physical security of the
device is the first step to security. If you can’t secure the physical device, then you
have no security. It-it’s impossible to have security if you don't secure the physical
device.

Chanel Rion (01:18):

Working off the Dominion manual and public request documents from
Pennsylvania, Secretary of State, Watkins says the vulnerabilities of Dominion
reside in the fact that administrative access is so easy to attain with administrative
access comes direct access to ballots and how they are counted.

Ron Watkins (01:37):

So, you have the issue of the person who is inside the tabulation machine, which is
just a normal Windows 10 computer. Are they manipulating the vote before it goes
to the flash drive? And then you have the next issue, which is now the votes are on
the flash drive, does, how does that flash drive get to the -the county commissioner
or whoever is assigned to accept the flash drive? Is the same flash drive being, uh,
being sent over? So, you could swap the flash drive, theoretically, there’s no
accountability there. And then once the County Commissioner or whoever accepts
that flash drive gets the flash drive, do you trust them to not go in and edit the
contents before they report it?

Chanel Rion (02:26):

In Michigan, one county reported 6,000 ballots being affected because of a software
malfunction. Catching this error meant the difference between that county voting
Biden to that county actually having voted for Trump by 2,500 votes.

Ron Watkins (02:42):

So, another issue is the keys. The keys to the machine are digital devices. It’s
unclear what the device is. It might be like an RFID device or USB or, or something,
but it is clear that it’s a digital device that holds a, some kind of cryptographic key
on it. If you lose this physical key, you lose absolute security of the entire precinct.
So, for example, if say Philadelphia was storing these keys in a warehouse and they
were robbed, and the only thing stolen where these keys and a laptop, then you
should consider their entire election to be illegitimate because they have lost the
physical security of the system, which is the most important, uh, part of information
security.


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   Chanel Rion (03:36):

   And that’s exactly what happened in Philadelphia. Just one month before the
   election USB drives and a laptop had been stolen from a key precinct in
   Philadelphia. On election day, Biden overtook Trump's 800,000 vote lead in the
   dark of night. According to these tabulating machines, Biden surpassed Trump by
   nearly 60,000 votes statewide. A lead found in one county, the County from which
   a thief stole USB keys and a laptop to the precincts ballot machines the month prior.

3. Dominion Scandal Goes Worldwide With Michael Johns (Nov. 18, 2020)

   https://www.oann.com/dominion-scandal-goes-worldwide-with-michael-johns/

   Dominion Scandal Goes Worldwide With Michael Johns

   Tipping Point’s Kara McKinney caught with Michael Johns, the co-founder and
   leader of the National Tea Party Movement, to get his take on the controversy
   surrounding the 2020 presidential election and the role of Dominion Voting
   Systems.

   Video

   Kara McKinney (00:00):

   Foreign governments seem to be tied in with these systems, whether it be Canada,
   Venezuela, Spain, or even Germany. What can you tell us about that?

   Michael Johns (00:09):

   Well, there’s been some reporting at some of these, um, systems in Germany were
   actually seized. Um, they clearly the, you know, Smartmatic has had incredible ties,
   uh, with some of the greater far-left concerns that we have, including, um, this
   Lord Malloch Brown, who’s very tight, uh, with, uh, Soros is on the, uh,
   Open Societies Global Board and a bunch of other sources boards, meaning this is
   not some casual associate of George Soros. This is kind of an individual as part of
   that inner circle. Um, and we have, and we have case after case. The Philippines
   is, is another great example where these systems have been utilized and there's been
   nothing but broad concerns. Now, since we last talked, which was not broadly
   known and still not probably known, just so happens that one of two campaigns has
   a very strong relationship with Smartmatic.

   And I probably don’t have to ask you to guess which one. Um, but we have, um, an
   individual, uh, named, named Peter Neffinger who has been handling what’s
   typically called, um, the, the landing teams for transitions, where personnel are
   brought in for the, no, nothing short of the Department of Homeland Security. This
   guy has been on the board of Smartmatic. He has, uh, an extensive historical
   relationship with the Atlantic Council, which, you know, one of the great, I think
   untold stories is the amount of foreign money that’s flooded into Washington, D.C.,


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   including thinktanks, uh, over the last few years. And I come out of the thinktank
   environment, um, and worked with, I think the best of the bunch in the
   Heritage Foundation. But he worked with the Atlantic Council known for lots of
   Qatar money, lots of China money, uh, lots of UAE money, and even Burisma
   money that went into Atlantic Council, which did not come out in the Hunter Biden
   story.

   So, we have, I think, and you can hear it in legal counsel coming out of the Trump,
   um, legal team, major concerns. And you know, my guidance right now is don’t
   jump up and down with glee. It’s firstly, astonishing and reprehensible that we’ve
   allowed this to occur. And we have to begin as con--know, as least I say this as a
   conservative as a lifelong Republican taking some responsibility for these actions.
   Where were Republicans? Where were conservatives, when these systems that
   were, were shown to be flawed, um, were not, were not adopted? And by the way,
   you know, Elizabeth Warren, Klobuchar there’s Democrats, who’ve raised
   concerns about, about them as well. So, I think we haven’t like we're at a point
   right now where this has to be fixed. It is inexcusable. It is not acceptable for us to
   sort of say, you know, yeah, there were some concerns out there and it probably
   didn’t go well, we've got to get that fixed before 2024. No, the, the President who
   is sworn in on January 20 absolutely has to have the full confidence of the American
   people that, that, that individual was elected in a free and fair election. Right now
   you cannot say that at all. And in a country that’s still roughly split 50/50 by
   ideology and party. That's a recipe for immense, uh, divisiveness among

   Kara McKinney (03:41):

   Exactly. You're exactly right. And the only thing, this, this smacks me of intention
   here on the Democrats part, as you were saying in laying out over these past few
   years, red flags popping up here and there over these many, many years. And the
   fact that Democrats knew that and then push to bring these systems into as many as
   30 States and Republicans as well, some Republicans as well. It tells me that
   something is not sitting right here. Thank you so much for breaking it all down for
   us, Michael.

4. Dominion Voting Systems Under Scrutiny For Security (Nov. 18, 2020)

   https://www.oann.com/dominion-voting-systems-under-scrutiny-for-security/

   Dominion Voting Systems Under Scrutiny For Security.

   One of the nation’s biggest voting machine operators, Dominion Voting Systems,
   appears to have ties to high-level Democrats. One America’s Pearson Sharp has
   more on the story as democratic senators warn that electronic voting machines are
   highly vulnerable to hacking.




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Video

Host (00:00):

In the meantime, one of the nation's biggest voting machine operators, Dominion
Voting Systems appears to have ties to high level Democrats. Here’s one America's
Pearson sharp.

Pearson Sharp (00:11):

As the question of election integrity grows, one of the largest operators of voting
systems in the U.S. appears to have questionable relationships with some of the
biggest names in the Democratic Party. Dominion voting systems has taken center
stage and the controversy over vote tampering and has tried to deny claims that it
was manipulating the outcome of the 2020 election. However, the Colorado based
company has admitted to not only hiring a former staffer for Nancy Pelosi as a
lobbyist, but also to making a sizable donation to Bill and Hillary’s Clinton
foundation. Furthermore, President Trump’s campaign attorney Sidney Powell
claims Dominion was working to bolster Joe Biden over Trump and says they have
enough evidence to launch a widespread criminal investigation. Powell explained
that operators at Dominion can watch the votes coming in in real time. And more
importantly, they can also switch the votes in real time. This is something that even
Dominion’s Vice-President Eric Coomer admitted to back in 2017, explaining that
the votes can be altered after the election, but claiming they never do that.

Eric Coomer (01:19):

Does this system allow alterations of the ballot images after the election, only
through the adjudication system? Again, because I'm making a judications on the
records. We update the audit mark. We never update the actual image of the
physical ballot front and back.

Pearson Sharp (01:35):

Even Democrats are aware of Dominion’s vulnerabilities. And back in 2019
senators Elizabeth Warren, Amy Klobuchar and Ron Wyden admitted that voting
electronically was a security risk in a letter written in December of last year. They
stated quote researchers recently uncovered previously undisclosed vulnerabilities
in nearly three dozen backend election systems in ten States. Even election security
activists, warn that Dominion has no safeguards and is highly vulnerable to outsider
hacking or vote tampering. Experts like Alex Halderman, a professor of computer
science from the University of Michigan, says the QR codes used a scan. The ballot
could simply be copied and resubmitted as another vote. He says that could be done
as many times as you wanted. And a copy would be just as valid as the original.
And after the hand recounts began in Georgia. It appears that manipulation of the
vote may have indeed taken place putting the state back in play for President
Trump.



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   Pearson Sharp (02:35):

   Following the previous discovery that some 2,600 uncounted ballots were
   uncovered in Floyd County, which Georgia’s voting system, chief Gabriel Sterling
   called an amazing blunder. The same thing as apparently happened again in
   Fayette County, another 2,755 votes were found on a memory card, according to
   Sterling with nearly 1600 going to President Trump and just over 1100 going for
   Biden that closes the gap between Trump and Biden by another 449 votes. In
   addition to the 800 votes discovered in Floyd County shrinking Biden's lead even
   further. These are just the incidents that we know about so far, but as more and
   more discrepancies and major voting errors are uncovered on a daily basis. It seems
   clear the American people, regardless of party are justified and there are concerns
   over the integrity of their elections. Pearson Sharp, One American News.

5. Dominion Executive: Trump Is Not Going To Win. I Made F***Ing Sure Of That (Nov.
   24, 2020)

   https://www.oann.com/dominion-executive-trump-is-not-going-to-win-i-made-fing-sure-
   of-that/

   Dominion Executive: Trump Is Not Going To Win. I Made F***Ing Sure Of That.

   One America’s Chief White House Correspondent Chanel Rion spoke with the
   founder of FEC United, Joe Oltmannn, who made a bombshell discovery about a
   key member of Dominion’s leadership.

   Video

   Host (00:00):

   One America’s Chanel Rion speaks with founder of FEC United Joel Oltmann, who
   made a bombshell discovery about a key member of Dominion's leadership.

   Chanel Rion (00:11):

   Joe, you infiltrated an Antifa conference call this past September and accidentally
   came upon a top Dominion Voting Systems executive named Eric Coomer.
   Describe that call and what it led you to find.

   Joe Oltmann (00:26):

   How the call started. If, somebody says who’s Eric? He says, Eric’s Dominion guy.
   Someone actually said: Hey, go ahead and tell them to continue speaking. Um, and
   someone interrupts and says, uh, what are we going to do if f-ing Trump wins? And
   Eric responds, and I’m paraphrasing this, by the way, um, don’t worry about the
   election. Trump is not going to win. I made effing sure of that. And then he started
   laughing and somebody says f-ing right. At that point, I thought to myself, you



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know, this guy is crazy. These people are crazy because they think that they are,
you know, Jedi warriors and they could just will themselves to Trump not winning.

Chanel Rion (00:58):

Fast forward to just after the election. Oltmann sees an article concerning Georgia’s
last minute Dominion Voting software updates. The article cites Eric speaking on
behalf of Dominion. Oltmann remembers his September call and begins to dig
deeper.

Joe Oltmann (01:16):

Um, and, but I did do research on Eric. And so, I just put it a simple Google search
to start, which was Eric Dominion, uh, Denver, Colorado. And Eric Coomer came
up immediately under Dominion Voting Systems. Anytime that there was a press
release, Eric Coomer was the one giving that press release. Anytime, but they were
pitching the product to, uh, different municipalities. He was the one pitching the
product. And I’m talking about Arizona, uh, Wisconsin, um, Georgia,
Pennsylvania, you name it, his name pops up everywhere.

Chanel Rion (01:49):

The real shocker came when Oltmann found Coomer’s Facebook posts,

Joe Oltmann (01:53):

I’ve got access to his Facebook. You get that sinking feeling like what, like what
this is, this is crazy here. Here’s the director of security and excuse me, of strategy
and security at Dominion. Um, and when I got into his Facebook page, that’s when
things really started to kind of come together for me that you know, that
Eric Coomer was this, you know, that he was not just Antifa. He was, uh, he was
responsible for putting his finger on the scales of our election

Chanel Rion (02:22):

Posts, including the Antifa manifesto, vitriolic posts against all Trump voters, song
links like “Dead Prez” and “F-the police” and “F the USA.” Oltmann says Coomer
had the title and the power to exercise his vitriol through Dominion. If Coomer is
investigated and found to have indeed tampered with a presidential election, such
an action could be tried for treason. Unfortunately, the question is, will the FBI step
up to investigate. For more on this interview and others tune in for OAN’s
upcoming investigation on Dominion. Chanel Rion One American News,
Washington.




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6. Maricopa County GOP Chairwoman Testifies She Saw Votes For President Trump
   Flipped For Biden (Dec., 2020)

   https://www.oann.com/maricopa-county-gop-chairwoman-testifies-she-saw-
   votes-for-president-trump-flipped-for-biden/

   Maricopa County GOP Chairwoman Testifies She Saw Votes For President Trump
   Flipped For Biden.

   The GOP vice chairwoman of Maricopa County, Arizona said she saw ballots
   changed from a vote for President Trump to a vote for Joe Biden on election night.

   Linda Brickman testified before Arizona state legislators on Monday, stating that
   she witnessed votes being entered into the Dominion system automatically changed
   to reflect a vote for Biden. She said she was threatened and barred from the counting
   room after telling her supervisor what she saw.

   Despite multiple witnesses coming forward with similar stories, counters were
   reportedly never told whether any action had been taken to correct the miscount.

   Maricopa County is among the largest in the nation with more than 2 million votes
   in the 2020 election.

   “I read her a Trump Republican ballot and as soon as she entered it into the system,
   the ballot defaulted on the screen to a Biden Democratic ballot,” explained the GOP
   vice chairwoman.

   Brickman said her purpose of appearing at the hearing was to speak the truth and
   protect the integrity of the election.

7. Election Fraud Witnesses Provide Testimony in Mich. (Dec. 3, 2020)

   https://www.oann.com/election-fraud-witnesses-provide-testimony-in-mich/

   Voting irregularities in Michigan are under scrutiny again as the President’s legal
   team continues to present their case to the American public.

   On Wednesday, state Rep. Matt Hall (R), chairman of the Michigan House
   Oversight Committee, led a hearing to listen to poll watchers and election workers
   testify to what they saw on November 3 as well as the days that followed.

   In his introduction, Hall recognized that the state of Michigan needed to investigate
   these claims because pre-election mandates had left the state vulnerable to
   tabulation errors. During the 2018 midterms, Michigan voted to change a number
   of election procedures, including the implementation of ‘no excuse absentee’
   voting.




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   More than 3 million voters used the new policy to register to vote by mail in 2020,
   but county clerks quickly reported tens-of-thousands of ballots were thrown out due
   to signature errors or voters no longer living in Michigan. This led the President’s
   legal team to question how many fraudulent ballots were not thrown out.

   The President’s personal attorney, Rudy Giuliani, questioned witnesses before the
   Michigan House Oversight Committee. This allowed lawmakers in the Wolverine
   State the opportunity to hear firsthand stories of fraud and negligence.

   One witness, Mellissa Carone, was contracted by Dominion voting machines to
   provide IT support in Detroit and told the committee how she was forced to watch
   as election officials added the same batches of ballots to the final tally over and
   over again.

   The mishandling of ballots and the negligence of poll workers affected not only the
   presidential race, but several ballot measures within the state.

   Guiliani ended the hearing by saying that the work undertaken by the President’s
   legal team was vital because “every dishonest vote deprives an honest voting person
   of their vote.”

8. Reports: Ga. Gov. Kemp Awarded Dominion Voting Contract After Meeting With
   Chinese Consulate Official In Atlanta (Dec. 10, 2020)

   https://www.oann.com/reports-ga-gov-kemp-awarded-dominion-voting-contract-after-
   meeting-with-chinese-consulate-official-in-atlanta/

   Reports: Ga. Gov. Kemp Awarded Dominion Voting Contract After Meeting With
   Chinese Consulate Official In Atlanta

   New reports highlight the relationship between Georgia’s governor and consuls
   from China. They show that Gov. Brian Kemp (R-Ga.) may have closer ties to
   China than just asking for their business.

   According to recent reports, Kemp met with China’s consul general from the
   Houston consulate in Atlanta on July 12, 2019. The Houston consulate was shut
   down by the U.S. government for being used as a location for spies.

   “We’ve terminated special treatment agreements with Hong Kong in response to
   CCP’s actions to deny freedom to the people of Hong Kong,” Secy. of State Mike
   Pompeo said when he appeared before the Senate in July. “And we closed our
   consulate in Houston because it was a den of spies.”

   On July 29 of the same year, Kemp handed Dominion a ten-year contract worth
   over $100 million.

   Dominion has been accused multiple times of changing votes for President Trump
   to votes for Joe Biden. The company also has various ties to China.


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   In June of this year, the New York Times reported there is evidence that heavy
   lobbying and sales tactics were used leading up to their implementation.

   On Tuesday, outlets highlighted resurfaced pictures of Kemp meeting with several
   Chinese diplomats who are suspected of committing espionage and attempting to
   steal COVID-19 research.

   Separate reports also called attention to massive Chinese investment in Georgia,
   which may violate CFIUS rules. Kemp is known to have welcomed questionable
   Chinese money in his state.

   “China is a top source of imports and our third-largest export market,” Kemp stated.
   “We welcome thousands of Chinese visitors every year to the Peach State and we
   are constantly helping to develop new opportunities for Chinese companies.”

   Critics said Kemp is willing to hand election results in his state to Joe Biden, despite
   evidence of fraud, due to his soft stance on China.

9. Mich. Fraud Witness Debunks Dominion CEO Testimony, Says Poulos Falsely Denied
   Internet Connection & Ballot Dumps (Dec. 16, 2020)

   https://www.oann.com/mich-fraud-witness-debunks-dominion-ceo-testimony-says-
   poulos-falsely-denied-internet-connection-ballot-dumps/

   Mich. Fraud Witness Debunks Dominion CEO Testimony, Says Poulos Falsely
   Denied Internet Connection & Ballot Dumps

   Michigan’s top witness of election fraud debunked recent claims that Dominion
   CEO John Poulos made while under oath to a State Senate Committee.

   “He stated none of the machines were connected to the Internet,” election fraud
   witness Melissa Carone said. “[There is a] 53-minute audio recording of the
   Dominion training session, in which they admit that all of their hardware is
   connected to the internet.”

   Melissa Carone said the Dominion CEO also lied by saying that election workers
   had ballots locked in steel boxes. In reality, she said, they had access to the ballots
   and even ran them through machines several times.

   Additionally, Carone added Poulos falsely denied ballot dumps at Detroit’s TCF
   Center. She noted there is documented evidence of the ballot dumps.

   “These pictures are crazy,” Carone said. “They are from outside the Department of
   Elections on the third and the fourth and there are Penske moving trucks. The back
   of them are open.”

   She noted that trucks belonging to the city of Detroit were allegedly parked behind
   the moving trucks to guard them.


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10. Dominion Falsely Claims QR Codes Protect Against Fraud (Dec. 16, 2020)

   https://www.oann.com/dominion-falsely-claims-qr-codes-protect-against-fraud/

   Dominion Falsely Claims QR Codes Protect Against Fraud

   Dominion executives are being called out for making false claims about the
   company as lawmakers increase calls to it’s officials to answer for election
   irregularities

   Video

   Speaker 1 (00:00):

   Dominion executives are being called out for making false claims about the
   company. As lawmakers increased calls to its officials to answer for election
   irregularities, here’s One America’s Chanel Rion.

   Chanel Rion (00:13):

   Dominion Voting Systems has a lot to answer for, with the latest forensics audit in
   Michigan finding a whopping 68% error rate in the machines. Lawmakers are
   growing frustrated that Dominion executives continue to stonewall baffling issues
   found in the use of their system. Jovan Hutton Pulitzer inventor, and holder of
   hundreds of patents tells One American News eventually lawmakers with an
   opportunity to ask Dominion executives questions need to be aware of their
   trickster tech speak. Namely QR codes have been a common defense as to the
   security of these votes. Wrong says Pulitzer.

   Jovan Hutton Pulitzer (00:49):

   I had Dominion executives under oath asking them questions. First, we’d get a few
   little admissions. Obviously, can the machines be changed? And they’ll say it can’t.
   Then they always use this QR code excuse. Now remember there are several
   different codes on it, but one of them is QR codes and they tell you that can't be
   hacked. Yeah, that's unique. And that's how we do it. Well, the reality is that
   particular use of the Q code technology is actually dynamic. And that’s not what
   they’re telling you. So, let me give you an example. If you could take that code and
   scan it, don’t let it go anywhere. But you look underneath that the geeky gobbledy
   goop, right? You see a bunch of numbers and it would make no sense to you, but
   in the technical world, it’s basically saying, hey, this is what machine I came from
   and system I use. So, when they tell you that that code is unique, it’s actually a little
   bit of geek smoke and mirrors. And it means yes, of you were to look for that exact
   vote with that exact code, yeah. It’d show up one time. And you say, well, the vote
   wasn’t duplicated well in reality is you can take that same ballot. You can copy it
   in a scanner and feed it back into the machines and get another vote.

   Chanel Rion (02:02):


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   Pulitzer’s own background is diverse. But in particular, he is known as the father
   of scan commerce. Technology that eventually evolved into QR codes use today.
   Pulitzer says, lawmakers beware. The QR code excuse needs to be expanded upon
   when they do face Dominion executives.

   Jovan Hutton Pulitzer (02:19):

   Lawmakers and I would have Dominion executives and other voting system
   executives. As a matter of fact, actually met this, say, tell me what, let’s just take
   the code that was printed on that one ballot. It’s supposed to be unique, right? And
   let’s just say, we really don't care about who you voted for, how many little footballs
   you filled in. We care about the rest of the data. Let’s just look for that machine and
   the rest of the code compared to the internal clock of the computer and every
   machine. Because remember if your date time stamp’s off and the clock’s off that
   machine doesn’t work. Every device in the world works like this. And so, when
   you start seeing that code minus the stuff that makes it even further unique, then
   you begin to see the codes duplicate themselves. And so, there are physical ways
   to tell that balance had been manipulated and there are computer ways.

   Chanel Rion (03:10):

   The big problem now is access to physical machines and ballots. This says Pulitzer
   is not actually a problem. There are other technical and physical ways to audit the
   ballot.

   Jovan Hutton Pulitzer (03:20):

   Let’s say they torched them in a massive bonfire somewhere, and they won’t allow
   us access to the machines. There are four other audit trails to prove was the system
   batch loaded with fraudulent ballots. And that’s what we should be explaining to
   judges. And just try to look at it audit because, hey, let’s face it with the numbers
   this tight and this close. If all of a sudden there’s one state that mailed millions of
   ballots, uh, and they said 97% of them came back in his mail-in ballots. However,
   when you audit the exterior sources, the exterior sources say, well, it was really just
   a little over 60% came back. Well, when you have like a 30 plus percent
   discrepancy, don’t you think that has to be answered?

   Chanel Rion (04:06):

   An audit of dominion machines was conducted via server in Michigan. The findings
   were released by the judge there Monday concluding that the 68% error rate does
   not meet FEC standards. Chanel Rion One American News, The White House.

11. Dominion-izing’ the Vote with Chanel Rion (Nov. 21, 2020, rebroadcast on December
    19, 2020)

   https://www.youtube.com/watch?v=746HTjhFifA



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Chanel Rion (00:07):

In this edition of one American News investigates, We look at
Dominion Voting Systems and its role in the 2020 presidential elections, glitches
errors, money trails to powerful Democrats. Dominion is just one of three major
companies providing voting systems to America. But Dominion captured headlines
when it was discovered it had glitched 6,000 votes giving Biden a fraudulent win.
This was not an isolated event

Chanel Rion (00:50):

In 2016, Antrim County, Michigan, affirmed its Republican loyalties by voting
Trump 62% beating Clinton by 4,000 votes. Fast forward four years, and
Antrim County was shocked to find itself voting Joe Biden over Trump by 3,000
votes, a complete flip from the last presidential election. Something was very
wrong. When the County said to work with a manual recount, they discovered a
ghastly error, 6,000 Trump votes were accidentally tallied for Biden. RNC,
chairwoman, Ronna McDaniel held a press conference, noting a litany of
irregularities in Michigan. But when it came to Antrim County, the irregularity was
potentially much bigger in scale.

Ronna McDaniel (01:37):

When inquired with the floor, they were told it was a software issue and it was
corrected. But now we know that 47 counties use that same software.

Chanel Rion (01:48):

It was certainly odd. Republicans wanted an investigation to ensure no more such
mistakes happened elsewhere. However, Michigan's Democrat Secretary of State
was quick to pronounce such concerns as ridiculous, immediately denouncing any
suspicion of technical foul play. “The software did not cause a misallocation of
votes. It was a result of user human error.” See no need to investigate after all it’s
2020 and software errors are impossible, right?

Video Clip Plays (02:21):

I'm here to tell you that the electronic voting machines, Americans got to solve the
problem of voting integrity. They turned out to be an awful idea. One vote for
McCain that's because people like me can hack them all too easily.

Chanel Rion (02:38):

That was some professor out of Michigan, back in 2018 in the New York Times.
Ignore that. The system, Michigan Democrats don't want Republicans to investigate
the system. Part of what DHS proclaimed quote, “the most secure in American
history.” Meet Dominion Voting Systems. A Canadian firm. Dominion is one of
three companies providing 90% of America’s voting systems. Dominion serves 28



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U.S states, including battlegrounds like Pennsylvania, Michigan, Arizona, all of
Georgia, and Nevada. Incidentally, Michigan was not the only battleground state to
experience problems with Dominion. Georgia went all-in with Dominion buying
30,000 machines installed across the state just nine months before the general
election Georgia Secretary of State boasted of his state's partnership with Dominion
to install all these new machines.

Video Clip (03:33):

Dominion and the Secretary of State’s office worked very closely together on
making sure we had the staff here to get these things put through.

Chanel Rion (03:40):

A few months later in Georgia’s June primaries, Dominion proved to have a few
hiccups. Don't take it from us. Here’s PBS:

Video Clip (03:47):

Yes, the poll pads took as long as 30 hours to download the voter database,
displayed the wrong races and would randomly shut down and the power-hungry
ballot marking devices, blew circuit breakers in numerous locations, poll workers,
many of whom had no hands-on training because of the pandemic were often
befuddled by the new technology.

Chanel Rion (04:11):

Indeed, even by the general election, five months later, Georgia was still in trouble.

Video Clip (04:17):

I have not certified the elections, including two of the most populous in the state
between technical issues--

Video Clip (04:23):

Let’s begin with Lysa Lucas, she's live at Gwinnett County’s elections office in
Lawrenceville, where thousands of votes are in limbo because of a software issue.

Video Clip (04:33):

There is an issue in Gwinnett County. As officials have told us that 60,000
Gwinnett County ballots are in limbo after a software issue. And this is according
to the communications director of Gwinnett County.

Chanel Rion (04:46):

While all of this plays out before our eyes, Republicans demand investigations, but
government officials demand we look away. There has not been any evidence of


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anything that would undermine the validity of this election and it's time to move
forward. Meanwhile, the Trump legal team under former New York Mayor and
prosecutor, Rudy Giuliani disagreed. Antrim County put Dominion systems front
and center. Now we must dig deeper.

Rudy Giuliani (05:12):

Now we’ve got to look at how often did it break down in other parts of the state.
And when you look back on the history of Dominion, which is a Canadian firm, it's
made mistakes in the Canadian election similar to that.

Chanel Rion (05:24):

The Trump legal team’s Dominion wing is led by general Michael Flynn’s attorney,
Sidney Powell, who has long warned Americans, the dangers of our election
systems relying on foreign software. Mind you, no one is claiming that Dominion
is solely responsible for the fiasco and the vote irregularities that defined the 2020
general election. But when we return, prepare to be stunned when you find out just
how easy it is to manipulate votes through Dominion, why one major state deemed
Dominion dangerously easy to hack and how one hacker read the user guide
flagging stunning questions for the feds. We’ll be right back.

Chanel Rion (08:01):

No voting system is perfect. Here are the heads of the top three voting systems
telling Congress as much.

Video Clip: (08:06) Is there any method of voting. That's a hundred percent secure.

No, no,

Chanel Rion (08:12):

No. They go on to say their voting systems are mostly safe, but here’s a Senate
letter from December 2019 slamming these three companies. Election security
experts have noted for years that our nation’s election systems and infrastructure
are under serious threat. The Senate letter then highlights how the top three voting
systems ES&S, Heart Intercivic and Dominion Voting Systems, quote have long
skimped on security in favor of convenience, leaving voting systems across the
country, prone to security problems. The lawmakers who wrote this letter, none
other than senators, Elizabeth Warren, Amy Klobuchar, Ron Wyden and
Congressman Mark Pocan, all Democrats. One year later. Now that America is
asking whether Dominion to tampered with our votes and Joe Biden's favor, where
are these Democrats now? In the last two years, Dominion aggressively marketed
itself to every State in the union. And while Georgia went all in and lived to regret
it, one state gave it a Texas sized thumbs down. Upon testing Dominion machines
and its accompanying systems, the state of Texas concluded Dominion was to
quote, fragile and error-prone and could not be trusted for safe and secure elections.


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So, what makes the machines fragile and error prone? Ron Watkins, a large systems
data analyst tells One American News. After over a week, pouring over Dominion
user guides. He was stunned by how easily ballots could be accessed by one person
with access to one machine.

Ron Watkins (09:49):

With the Dominion system, you need to be most concerned about activist IT people.
The operator’s system, in my opinion, have way too much power to control the
internal features and settings of the system.

Chanel Rion (10:05):

Just reading the dominion manual, Watkins says he understands the system enough
to devise an alarming number of ways to alter vote counts across an entire precinct
using Dominion.

Ron Watkins (10:17):

I was looking at this manual with the mindset of a penetration tester. An
administrator would have the ability to delete ballots, reset counts, delete entire
batches, etc. There's a lot of things that they can do.

Chanel Rion (10:29):

Watkins notes while there are legitimate reasons for such controls. There’s no
mention as to whether there's way to track or hold users accountable for deleting or
altering ballots.

Ron Watkins (10:40):

Dominion will train between two to six workers per county, who are appointed by
the county to undergo election systems training. These two to six workers are
trusted to not tamper with the final tabulation accounts while transferring data
between the ICC, which is the image cast central tabulation software, and the
county. So, this transfer process is literally just dragging some folders on a
Windows computer onto a flash drive, then physically handling, handing the flash
drive to the county. What I want to know is during this handoff, are these people
being watched by auditors or to make sure this flash drive isn’t switched off for
something else? Or are these folders being dragged correctly onto the flash drive?
Has the data been altered before or after it’s been handed off?

Chanel Rion (11:20):

This is where the security problem magnifies.




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Ron Watkins (11:23):

Do you trust the worker who logs into the tabulation machine to drag the correct
votes onto the flash drive? Are they dragging all the votes? Theoretically you could
solve swap the flash drive for a different flash drive. There's a no accountability
there. And then once the county commissioner or whoever accepts that flash drive
gets the flash drive, do you trust them to not go in and edit the contents before they
report it.

Chanel Rion (11:47):

As Georgia underwent its recount two weeks after election day flash drives were
found with uncounted ballots on them. Over 2,700 votes had been forgotten in the
initial count. 1,500 of those votes were for Donald Trump, 1,100 for Biden.

Ron Watkins (12:03):

So another issue is the keys. The keys to the machine are digital devices. Uh, they
it's unclear what the device is. It might be like an RFID device or USB or, or
something, but it is clear that it’s a digital device that holds some kind of
cryptographic key on it. If you lose this physical key to the machine, then you lose
absolute security of the entire precinct. Say Philadelphia was storing these keys in
a warehouse and the--they were robbed. And the only thing stolen were these keys
and a laptop. Then you should consider their entire election to be illegitimate
because they have lost the physical security of the system.

Chanel Rion (12:48):

That's just what happened in Philadelphia. One month before election day.

Video Clip (12:53):

Philadelphia police are investigating after somebody broke into an election machine
warehouse and stole a laptop and a USB drive that that happened last night at the
warehouse on the 3500 block of Scott's lane and East Falls.

Chanel Rion (13:07):

Officials were quick to declare this theft had nothing to do with the election and
was not malicious at all. An odd declaration. You don’t catch the criminal, but you
decide, you know their motive. Interesting judicial logic, Philadelphia. Meanwhile,
local reporter posted this video on social media where he seen walking around that
same warehouse without being noticed.




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Ron Watkins (13:29):

Whoever stole those keys in Philadelphia has admin access. Do you trust a random
thief who has administrative access to the voting machine? They could have,
theoretically, you’d been able to make as many keys as they want for Philadelphia.

Chanel Rion (13:41):

On election night. Donald Trump led Joe Biden by 800,000 votes, major precincts
reporting. In the dead of night that lead disappeared Biden overtook Trump and
took the whole state of Pennsylvania by 60,000 votes. That 60,000-vote bump came
from the very Philadelphia County in which the drive and laptop had been stolen.
Watkins’ list of concerns about Dominion’s vulnerabilities went on. Watkins found
it strange that algorithms for ballots with just one candidate on it called an
undervote were so complicated. And it is unclear what happens to these ballots.

Ron Watkins (14:18):

The computer may or may not throw out your vote.

Chanel Rion (14:21):

Another concern right after the 2018 midterms, Pennsylvania made a custom
request. They requested Dominion change the system to read a straight Republican
or straight Democrat ballot. But oddly read an individual candidate separately from
the rest of the straight ticket choices below.

Ron Watkins (14:40):

I looked at the font they're using and it’s uh, it’s part of the arial family of fonts, a-
r-i-a-l, which is a sans serif-font. And with this font family, a capital I and a
lowercase L are nearly indistinguishable on a piece of paper. The person who
designs the ballot and the race could theoretically put a Donald Trump in the
Repub-I-can party not the Republican party. And that would be a capital I instead
of the L. And then everybody else on the Republican party would just be in the
normal Republican party. In that situation, if you vote just straight party for the
Republicans, then Trump would not get a vote. And there are a lot of, I’ve been
hearing a lot of issues of, uh, Trump performing poorly in heavily Republican, uh,
areas.

Chanel Rion (15:35):

Next Watkins says, the machines are not supposed to connect to the internet, but
there don’t seem to be physical safeguards against connecting to internet through
the store-bought laptop.




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Ron Watkins (15:45):

If these computers, if even one of these computers was connected to the internet,
like if one election worker said, oh, I’m going to look at TikToK videos for the next
hour for my break. Then the entire precinct is compromised.

Chanel Rion (15:58):

But even these concerns were minor compared to what Watkins shared with us next.
Dominion's algorithm for handling an anomaly, that is a stray mark or bleed through
from my Sharpie pen.

Ron Watkins (16:10):

So this is, this is the big one that I'm most concerned about. If the scanning system
detects any anomaly on your ballot, then you are not counted.

Chanel Rion (16:20):

What Watkins reveals next explains one of the strangest mysteries of the 2020
election. We'll be right back.

Chanel Rion (18:42):

Ron Watkins’ analysis of Dominion Voting Systems is through a singular lens, that
of an infiltration hacker. Through that lens, the machines are disastrously
vulnerable, but as a systems analyst, the biggest red flag about Dominion was its
algorithm where ballots with anomalies bleed throughs or stray marks are set aside
and not counted.

Ron Watkins (19:04):

What happens when your vote is not counted due to an anomaly, then a scan of
your ballot gets saved into a folder on the ICC, the ImageCast Central tabulation
system. This allows for those two to six people who were trained by Dominion to
go through the folder of anomalies in either deletes or verifying each of the ballots
inside the folder. I believe it’s called vote adjudication. These workers can
theoretically see which candidates have been marked as votes on these anomalous
ballots before they are verified and officially cast. So it’s possible they could, in
theory, handpick a certain party’s votes to be verified while throwing out all the
others.

Chanel Rion (19:41):

But it’s the next point that stuns Watkins most.




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Ron Watkins (19:44):

Biggest issue here is that the system for detecting anomalies can be set up by
altering gamma settings on the scanner so that every ballot has an anomaly. This,
in effect, by altering gamma settings on the scanner so that every ballot has an
anomaly. This in effect allows those two to six trained people to go through and
hand check every single ballot before they're verified and cast into the tabulation
system as an actual vote. That last point explains to me how certain candidates can
get 130,000 votes at once with zero votes going to the other candidate. It explains
to me how or why vote workers in places like Arizona might have given Sharpies
to certain voters because they might have wanted that specific vote to be caught by
the anomalies system and, uh, hand verified at a later time.

Chanel Rion (20:40):

Watkins’ says, this is a task for the feds.

Ron Watkins (20:43):

My recommendation is for data forensics teams, federal data forensics teams, to
seize or subpoena the ICC ImageCast Central vote tabulation machines. Which are
just Windows 10 off-the-shelf machines. Go through and see how many votes hit
or how many votes arrived into the, the folder, which is specifically set up for
anomalies. This one bug has to affect an entire election, and it’s not even a bug.
This is a feature.

Chanel Rion (21:12):

One that would allow enormous batches by the hundreds of thousands to be decided
on by a few unmonitored workers.

Ron Watkins (21:19):

Your vote doesn’t matter in these districts with the Dominion machines in them,
because these two to six people trained by Dominion have ultimate control. It
doesn’t take a genius to realize that setting the gamma levels incorrectly makes all
the battle become anomalies, which you can then go through later and adjudicate.
If I was Trump, I would investigate those two to six people per county first.

Chanel Rion (21:43):

Watkins is of the opinion, any competent hacker, thief, or paid-off poll worker
could gain the Dominion system and alter hundreds of thousands of votes. But a
bigger question lurks: to what extent was this actually designed by the top on
purpose? In September 2020, FEC United founder, Joe Oltmann, had infiltrated
Antifa to uncover journalists who are active members of the Antifa group attacking
his company in Colorado. Joe, you infiltrated an Antifa conference call this past




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September and accidentally came upon a top Dominion Voting Systems executive
named Eric Coomer describe that call and what it led you to find.

Joe Oltmann (22:25):

How the call started. If, somebody says who’s Eric? He says, Eric’s Dominion guy.
Someone actually said: Hey, go ahead and tell them to continue speaking. Um, and
someone interrupts and says, uh, what are we going to do if f-ing Trump wins? And
Eric responds, and I’m paraphrasing this, by the way, um, don’t worry about the
election. Trump is not going to win. I made effing sure of that. And then I started
laughing and somebody says effing right. And so, I just put it a simple Google
search to start, which was Eric, Dominion, uh, Denver, Colorado, and Eric Coomer
came up immediately under Dominion Voting Systems

Chanel Rion (23:01):

Turns out Eric Coomer held a top position at Dominion. With a PhD in nuclear
physics, Coomer joined Dominion as Vice President of engineering and holds
several patents with Dominion. Ensuring users can adjudicate ballots from the
machines. The very function Ron Watkins pointed out as a huge red flag. After the
election, Oltmann was sent an article highlighting Eric Coomer from Dominion.
Oltmann started looking into Eric again, Eric was the Director of Strategy and
Security at Dominion and a shareholder in the company.

Joe Oltmann (23:37):

When I got into his Facebook page, that’s when things really started to kind of come
together for me that you know, that Eric Coomer was this, you know, that he was
not just Antifa. He was, um, he was responsible for putting his finger on the, the,
uh, scales of our election.

Chanel Rion (23:54):

And Dominion seemed to be a friendly place for such anti-Trump sentiment.
Coomer goes on to travel to battleground States, all of 2019.

Joe Oltmann (24:03):

Where they were building to coming into the 2020 election that he made sure it
happened. He made sure that, um, that Dominion Voting Systems was in all the
battleground States, uh, for the 2020 election. Yeah.

Chanel Rion (24:14):

Eric shared three folders of screenshots capturing the disturbing profile of
Eric Coomer starting back in the 2016 election.




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Joe Oltmann (24:22):

So this is a, um, rant. He, he says, rant. Facebook friend, land open call. If you’re
planning to vote for this autocratic. Narcissistic. fascist, uh, asshat blowhard, and
his Christian jihadist VP pick, unfriend me now. No, I’m not joking. I’m not for
reasoned political discourse and healthy debate. You could see how he started to
just become unhinged. And so he actually talks about the fact that his work has the
same mentality that he has towards being anti-Trump.

Chanel Rion (24:53):

Oltmann shared over 80 images of posts Coomer shared on his pages, the Antifa
manifesto, songs like “Dead Prez,” “Body Count,” “Cop Killer,” and “F- the USA.”

Joe Oltmann (25:07):

He locked down everything. He scraped the internet of everything, having Eric
Coomer on it. So they even went into lead candy. Dominion, took them off their
website, removes them from the board position on their site. They've literally made
Eric Coomer a ghost.

Chanel Rion (25:20):

As we were putting this investigation together, the public listings of employees for
Dominion were fast and dwindling from public purview. But we also came upon a
friend of Coomer, a woman named Penelope Chester-Starr. She works at Dominion
too, as Communications Director, her resume reads Clinton Foundation and Vice
President of the Bill and Hillary Clinton cash cow Teneo. Teneo booked Bill
Clinton’s speaking engagements. Chester-Starr also organizes anti-Trump rallies in
Canada. These are just two Dominion employees of dozens more with clear anti-
Trump allegiances. In Coomer’s case, he was in a position of power to actually act
upon his rage against Trump and Trump voters. What does he mean when he says,
“Trump won’t win? I made effing sure of that.” Nothing? According to DHS’s
former Cybersecurity Director, Chris Krebs, this was our most secure election in
history. Nothing to see here. Incidentally Krebs is now infamous most secure
election in history memo was co-written with the endorsement of the election
commission. Dominion is on that commission. Dare we dig deeper? We’ll be right
back.

Sidney Powell Clip (28:38):

There should never be another election conducted in this country. I don’t care if it’s
for local dog catcher using a Dominion machine and Smartmatic software. We’ve
got to have an American company that uses paper ballots that we can all verify. So
every one of us can see that our vote is our vote.




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Chanel Rion (28:59)

In the early 2000s, the election technology market had over 20 competitors. 20
years later, Dominion and two others dominate the voting technology market in
America. This is a problem, especially if they’re Antifa drenched engineers who
are hell bent on deleting half of America’s voice. If they’re saying this in the open,
what are they saying behind closed doors? In 2014, Dominion partnered with the
Clinton Foundation. Dominion admits this but assures all their partnership with the
Clinton Foundation has nothing to do with how Dominion tabulates votes across
America. Go ahead. Believe them. Big media, big tech, and big government
demand that you do. Meanwhile, citizens like Joe Oltmann, analysts like
Ron Watkins, news outlets like OAN, and lawyers like Sidney Powell will keep
asking the questions the FBI refuses to and the left demands you ignore.




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THOMAS A. CLARE, P.C.                                      L   L   P
                                                                                                MEGAN L. MEIER

                                                  December 22, 2020

  Via Email

   Robert Herring
   Chief Executive Officer, OANN
   Email: bobby@awetv.com

   Charles Herring
   President, OANN
   Email: charles.herring@oann.com

                     Re:     Notice of Obligation to Preserve Documents
    Dear Messrs. Herring:

           We trust that you are well. We wrote to you on December 18, 2020, regarding false
    statements you have recently published regarding Dominion. In that letter, we instructed you to:

               [E]nsure that you preserve and retain all emails, text messages, audiovisual recordings, voice
               mails, drafts, notes, communications, documents, data, and electronically stored information
               of any kind that relates in any way to these matters.1

             We write again to remove any doubt that litigation regarding these issues is imminent. With
    this letter you are once again on formal notice of your ongoing obligations to preserve documents
    related to Dominion’s claims for defamation based on allegations that the company behaved
    improperly during the November 2020 presidential election and somehow rigged the election in
    favor of President-Elect Joe Biden. Consequently, you must ensure that you and your principals,
    agents, employees, and subcontractors under your supervision, as well as any sources of articles or
    segments upon which you relied in making any statement (whether in writing or verbally) about
    Dominion are preserving and retaining all emails, text messages (including all messages exchanged
    on any messaging platform such as WhatsApp), audiovisual recordings, voice mails, drafts, notes,
    communications, documents, data, and electronically stored information of any kind that relate in
    any way to these matters. Without any limitation, this requires you to preserve all drafts, redline
    edits, versions, comments, and any other modifications to articles or segments related to Dominion
    or the November 2020 presidential election; all research, due diligence, and any and all other work
    relating to every article or segment which you have published or featured related to Dominion or
    alleged voting impropriety; all research, due diligence, and any and all other work relating to every



    1
        December 18, 2020 Ltr. at 11.
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allegation you have made against Dominion (regardless of the format or forum in which such
accusation was made).

       In addition, you must preserve, without limitation, all communications with:

       •   Any member, volunteer, staff, or employee of the Trump campaign;

       •   Sidney Powell, Rudy Giuliani, Jenna Ellis, L. Lin Wood, and each of their associates and
           paralegals;

       •   Every reporter, editor, blogger, host, or other member of the media with whom you
           communicated about Dominion or the November 2020 presidential election; and

       •   Every individual who has compensated OAN or any of its principals, agents, employees,
           or any other related entity in any manner for making statements about, or producing
           media content related to, Dominion and/or the November 2020 presidential election.

        The laws and rules prohibiting destruction of evidence apply to electronically stored
information in the same manner that they apply to other evidence. Due to its format, electronic
information is easily deleted, modified, or corrupted. Accordingly, you must take every reasonable
step to preserve this information until this matter is resolved. This may include, but would not be
limited to, an obligation to discontinue all data destruction and data backup recycling policies and
procedures on any and all devices within your possession, custody, or control. Your document
preservation obligations apply both to OAN individually, as well as to any entities OAN controls.

        Confirm receipt of this letter and that you intend to adhere to our request to retain
documents as set forth above. This is not a complete recitation of our client’s rights and remedies,
all of which are expressly reserved.

       We look forward to your prompt response.



                                                     Regards,




                                                     Thomas. A. Clare, P.C.




                                                     Megan L. Meier




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